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                                                                                     July 29, 2021
VIA ECF
The Honorable Paul G. Gardephe
United States District Judge
United States District Court
Southern District of New York
Thurgood Marshall
United States Courthouse
40 Foley Square
New York, NY 10007

                       Re:    Graciano v. Ubio Labs, Inc.,
                              Case No.: 1:21-cv-4853
Dear Judge Gardephe,

         The undersigned represents Sandy Graciano, (“Plaintiff”) in the above referenced matter
against Defendant, Ubio Labs, Inc., (“Defendant”) (collectively the “Parties”). We write, with
Defendant’s consent to inform the Court that the Parties have reached a settlement in principle
and respectfully request that Your Honor dismiss this action with prejudice with the right to
reopen in forty-five (45) days if the Settlement Agreement is not consummated. In light of the
anticipated settlement, the undersigned respectfully requests all currently pending deadlines in
this action be adjourned sine die.

       We thank the Court for its time and attention in this matter.

                                                                          Respectfully submitted,
                                                                       /s/Michael A. LaBollita, Esq.
                                                                          Michael A. LaBollita, Esq.



cc: All counsel of record via ECF
